Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page1of57 PagelD#: 1

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United States District Court Re, Bio - GQu 7
District Court of Maine nal oe NS

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AP, R 2 7 EO
GLEN PLOURDE, Sis 2020
B TAK.
2 ‘i DERG BERRY, CLs
Plaintiff OTF Spe OER
Complaint for a Civil Case
V. And Demand for a Jury Trial

THE STATE OF MAINE, WILLIAM
ANDERSON, CHARLES BUDD,
THE PENOBSCOT COUNTY
DISTRICT ATTORNEYS OFFICE,
MARIANNE LYNCH, STEPHEN
BURLOCK, PHILIP MOHLAR, and
DICK HARTLEY,

Defendants

Civil Action No.__ |}: 20-OV- [0144- JRUO

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I. Parties to the Complaint

Plaintiff

1. Glen Plourde
455 Chapman Road

Newburgh, Penobscot County

Maine 04444
207.659.2595

Glen.Plourde@Gmail.com (please do not use)

Defendant #1

2. The State of Maine
6 State House Station

Augusta, Kennebec County

Maine 04333
207.626.8800 (phone)
Email Unknown

Defendant #2

3. William Anderson, Penobscot County Superior Court Justice

78 Exchange Street
Case 1:20-cv-00149-LEW Document 1 Filed 04/27/20 Page 2of57 PagelD#: 2

Bangor, Penobscot County
Maine 04401
207.561.2300 (phone)
Email Unknown

Defendant #3

4. Charles Budd, Newport District Court Judge
12 Water Street
Newport, Penobscot County
Maine 04953
207.368.5778 (phone)
Email Unknown

Defendant #4

5. The Penobscot County District Attorney’s Office
97 Hammond Street
Bangor, Penobscot County
Maine 04401
207.942.8552 (phone)
Email Unknown

Defendant #5

6. Marianne Lynch, Penobscot County District Attorney
97 Hammond Street
Bangor, Penobscot County
Maine 04401
207.942.8552 (phone)
Email Unknown

Defendant #6

7. Stephen Burlock, Penobscot County Assistant District Attorney
97 Hammond Street
Bangor, Penobscot County
Maine 04401
207.942.8552 (phone)
Kmail Unknown

Defendant #7

8. Philip Mohlar Esq., Attorney at Law

-2-
Case 1:20-cv-00149-LEW Document 1 Filed 04/27/20 Page 3of57 PagelD#: 3

67 Court Street, PO Box 189
Skowhegan, Somerset County
Maine 04976

207.474.6200 (phone)
207.474.6209 (fax)
philmohlar@beeline-online.net

Defendant #6

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Dick Hartley Esq., Attorney at Law
15 Columbia Street

Bangor, Penobscot County

Maine 04401

207.941.0999 (phone)

Email Unknown

Il. Jurisdiction and Venue

This Court has subject matter jurisdiction over Plaintiffs Federal
Constitutional Claims pursuant to 28 U.S.C. §§ 1331 and 1348, and 42
U.S.C. §§§ 1983, 1985 and 1988, as this action arises under the
Constitution and laws of the United States.

This Court has subject matter jurisdiction over Plaintiffs Maine State
Constitutional, Civil and Criminal Claims pursuant to 28 U.S.C. § 1367
and 42 U.S.C. § 1988, as those claims are substantially related, both
legally and factually, to the Federal Constitutional Claims upon which
original jurisdiction is premised.

This Court has personal jurisdiction over the Defendants as they are all
residents of Maine.

Venue in this district is proper under 28 U.S.C. § 13891(b) because the
Defendants are residents of the district, and the events giving rise to the
claim occurred within the district.

This case is properly filed in Bangor because the Plaintiff was subject to
unlawful action in Penobscot County.

Ill. Statement of Facts

On Friday 06/10/16 the Plaintiff has been arrested by The Penobscot
County Sheriffs Department for Domestic Violence Misdemeanor Class
Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page4of5/7 PagelD#: 4

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D and taken to Penobscot County Jail for what would become case
NEWDC-CR-18-20309 and later PENDC-CR-18-20309.

During his arrest, the Plaintiff has seen and overheard the Plaintiffs
Father (“the alleged victim”) pleading with the Penobscot County
Sheriffs Department Officer(s) not to arrest the Plaintiff (his son) as he
did not want his son to be arrested. The Penobscot County Sheriffs
Department Officer(s) appeared to be intimidating the Plaintiffs Father
as they were standing very close to him and talking down to him
(literally and figuratively) in a very authoritarian and pejorative
manner, and the look on the Plaintiffs father’s face was clearly one of
fear and distress.

On Monday 06/13/16 the Plaintiff has met with “Attorney of the Day”
“Michael Michaels” while at Penobscot County Jail and has received bad
legal advice from “Michael Michaels”. The Plaintiff finds it suspicious
that this attorney has introduced himself as “Michael Michaels” (surely
an alias), has not disclosed his true identity, and has furthermore given
the Plaintiff bad legal advice.

On 06/13/16 the Plaintiff appeared from jail, via videoconference, before
District Court Judge Bruce Jordan (presumably, as stated in the Docket
Record) and plead Not Guilty to the charge of Domestic Violence
Misdemeanor Class D.

Plaintiff was then given a subsequent court hearing date of 07/27/16 and
ordered to appear at The Newport District Court on that date.

Plaintiff was released that day 06/13/16 upon “unsecured bail” of $1,000,
requiring him to pay that amount should he fail to appear in court for
his hearing, scheduled for 07/27/16.

Plaintiff has paid $0.00 in order to secure his release as he had no cash
or assets in his possession at that time.

On or about Friday 07/01/16, the Plaintiff has retained Attorney Philip
Mohlar Esgq., of 67 Court Street, Skowhegan Maine 04976 (“Philip
Mohlar’) after experiencing considerable trouble finding an attorney
willing to take his case in the Farmington/Skowhegan area. Plaintiff
finds this fact to be highly suspicious.

The considerable trouble the Plaintiff has experienced in (22), as well

as the considerable trouble the Plaintiff has experienced with case
NEWDC-CR-16-20309, has been reported to Senator Susan Collins and

-4-
Case 1:20-cv-00149-LEW Document 1 Filed 04/27/20 Page5of57 PagelD#: 5

The Maine Human Rights Commission on 08/02/17 and Governor Paul
LePage, The Maine Government Oversight Committee and The Maine
Office for Program Evaluation and Government Accountability on
08/04/17, The Federal Bureau of Investigation at their Boston
Massachusetts Regional Field Headquarters on 10/11/17, among other
numerous and notable Federal and State Government entities since that
time. Exhibit A, pages 5 — 10, line items 13 — 17.

24. Philip Mohlar has informed the Plaintiff on his date of hire, on or about
07/01/16, that the infraction alleged to have been committed by the
Plaintiff “arguably didn’t even rate a 1 on a scale of 1 — 10 of domestic
violence” (10 being the worst), and that “these cases are usually settled
by plea bargain quickly and without much problem”.

25. On or about 07/27/16, The Plaintiff has been told by Philip Mohlar that
he has spoken to the Plaintiffs father’s (“alleged victim”) attorney, Dick
Hartley of Bangor Maine, and that Dick Hartley has communicated to
both Philip Mohlar and the Penobscot County District Attorney’s Office
(“District Attorney’s Office”) and Penobscot County District Attorney
Marianne Lynch (“Marianne Lynch”) that the Plaintiffs father did not
want The State of Maine to prosecute the Plaintiff for criminal charges,
and furthermore both the Plaintiffs father and brother (“witness”) were
unwilling to testify against the Plaintiff and therefore it should be an
easy process of getting the District Attorney’s Office and District
Attorney to agree to a plea agreement in case NEWDC-CR-16-20309.
Exhibit B.

26. The Plaintiff has since learned that both the alleged victim and the
witness have the right to refuse to take the stand or otherwise testify
against the defendant in a criminal proceeding against the Plaintiff.

27. The Plaintiff has furthermore since learned that without either the
alleged victim and/or the witness testifying against the Plaintiff, there is
no case against the Plaintiff as the Plaintiff has a Fourth Amendment
Right to face his accuser(s) in a Court of Law for criminal proceedings.
The Plaintiff knows there are additional reasons that “no victims or
witnesses” is the equivalent of “no criminal case” in this instance, and
furthermore rightfully suspects that there are other reasons he does not
know of that concludes “no victims or witnesses” is the equivalent of “no
criminal case” in this instance.

28. The Plaintiff therefore asserts that The District Attorney and Marianne

Lynch should have dropped their case against the Defendant
immediately upon receiving the information from the alleged victim’s

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Case 1:20-cv-00149-LEW Document 1 Filed 04/27/20 Page 6of57 PagelD#: 6

attorney Dick Hartley that the alleged victim did not want The State of

Maine to prosecute the Plaintiff and both the alleged victim and witness
were refusing to testify against the Plaintiff in this criminal proceeding

NEWDC-CR-18-20309 (4425 — 27).

29. The Plaintiff furthermore asserts that his attorney Philip Mohar
certainly knew the information in (25 — 28), and furthermore asserts
that had Philip Mohlar been acting in his best interest as his defense
attorney, as anybody who has paid to hire a criminal defense attorney to
properly defend them would reasonably conclude, he would have told
both the District Attorney’s Office and Marianne Lynch something to
the effect of “Look, you have no case against my client because both the
alleged victim and the witness have both refused to testify, and
furthermore both the alleged victim and the witness don’t want my
client to be prosecuted whatsoever, and therefore you need the drop
NEWDC-CR-16-20809 against my client immediately”. However, this
statement was clearly not made to the District Attorney’s Office or
Marianne Lynch by the Plaintiffs defense attorney Philip Mohlar (as he
should have) as NEWDC-CR-16-20309 was not resolved until 04/26/17,
approximately 9 months later.

30. The Plaintiff furthermore asserts that the alleged victim’s attorney Dick
Hartley certainly knew the information in (4/25 — 28), and furthermore
asserts that had Dick Hartley been acting in the alleged victim’s best
interest, as anybody who has paid to hire a criminal defense attorney to
convince The State of Maine, The District Attorney’s Office, and
Marianne Lynch to drop criminal charge(s) against their son would
reasonably conclude, he would have told both the District Attorney’s
Office and Marianne Lynch something to the effect of “Look, you have
no case against my client’s son because the alleged victim (my client)
and the witness (my client’s brother) have stated their intention to
refuse to testify against my client’s son, they do not wish him to be
prosecuted by the State of Maine whatsoever, and therefore you need
the drop NEWDC-CR-16-20309 against my client’s son (the Plaintiff)
immediately”. However, this statement was clearly not made to the
District Attorney’s Office or Marianne Lynch by the alleged victim’s
attorney Dick Hartley (as he should have) as NEWDC-CR-16-20309 was
not resolved until 04/26/17, approximately 9 months later.

31. The Plaintiff furthermore asserts that The District Attorney’s Office
certainly knew the information in (25 — 30), and furthermore asserts
that had that office been acting in accordance with both The Law and
the alleged victim(s)’s wishes and refusal(s) to testify, as anybody would
rightfully expect of a Law-Abiding District Attorney’s Office, case

<6-
Case 1:20-cv-00149-LEW Document 1 Filed 04/27/20 Page 7of57 PagelD#: 7

NEWDC-CR-16-20309 would have been dropped immediately.
However, this clearly did not happen as the District Attorney’s Office
continued to prosecute the Plaintiff in this case for over 9 months until
it was finally dismissed on 04/26/17.

32. The Plaintiff furthermore asserts that Penobscot County District
Attorney Marianne Lynch certainly knew the information in (423 — 26),
and furthermore asserts that had she been acting in accordance with
both The Law and the alleged victim(s)’s wishes and refusal(s) to testify,
as anybody would expect of a Law-Abiding District Attorney, case
NEWDC-CR-16-20309 would have been dropped immediately.

However, this clearly did not happen as Marianne Lynch continued to
prosecute the Plaintiff and NEWDC-CR-16-20309 was not resolved until
04/26/17, approximately 9 months later.

33. The Plaintiff therefore asserts, for the facts cited in (724 — 32) that there
has been conspiracy and collusion between The Penobscot County
District Attorney's Office, Penobscot County District Attorney Marianne
Lynch, Skowhegan attorney Philip Mohlar, and Bangor attorney Dick
Hartley in order to interfere with the Defendant’s rights to face his
accuser, a violation of his Fourth Amendment Constitutional Right
under the United States Constitution. The Plaintiff finds that any
reasonable and intelligent person (i.e. a Jury) would Agree.

34. The Plaintiff furthermore asserts, for the facts cited in (24 — 32) that
there has been conspiracy and collusion between The Penobscot County
District Attorney’s Office, Penobscot County District Attorney Marianne
Lynch, Skowhegan attorney Philip Mohlar, and Bangor attorney Dick
Hartley in order to interfere with the Defendant’s rights to Due Process,
a violation of his Fifth Amendment Constitutional Right under the
United States Constitution. The Plaintiff finds that any reasonable and
intelligent person (i.e. a Jury) would Agree.

35. The Plaintiff furthermore asserts, for the facts cited in (724 — 32) that
there has been conspiracy and collusion between The Penobscot County
District Attorney’s Office, Penobscot County District Attorney Marianne
Lynch, Skowhegan attorney Philip Mohlar, and Bangor attorney Dick
Hartley in order to Maliciously Prosecute the Plaintiff, a violation of his
Fourth Amendment Constitutional Right under the United States
Constitution. The Plaintiff finds that any reasonable and intelligent
person (i.e. a Jury) would Agree.

36. The Plaintiff furthermore asserts, for the facts cited in (4/24 — 32) that
there has been conspiracy and collusion between The Penobscot County

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Case 1:20-cv-00149-LEW Document 1 Filed 04/27/20 Page 8o0f57 PagelD#: 8

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District Attorney’s Office, Penobscot: County District Attorney Marianne
Lynch, Skowhegan attorney Philip Mohlar, and Bangor attorney Dick
Hartley in order to commit Abuse of Process upon the Plaintiff, a
violation of his Fourth Amendment Constitutional Right under the
United States Constitution. The Plaintiff finds that any reasonable and
intelligent person (i.e. a Jury) would Agree.

The Plaintiff furthermore asserts, for the facts cited in (24 — 32) that
there has been conspiracy and collusion between The Penobscot County
District Attorney's Office, Penobscot County District Attorney Marianne
Lynch, Skowhegan attorney Philip Mohlar, and Bangor attorney Dick
Hartley in order to commit Malicious and Intentional Attorney
Malpractice. The Plaintiff finds that any reasonable and intelligent
person (i.e. a Jury) would Agree.

The Fact that the Plaintiffs parents have hired attorney Dick Hartley to
communicate to The State of Maine, The District Attorney’s Office, and
Marianne Lynch that the Plaintiffs father (“alleged victim”) and the
Plaintiffs father’s brother (“witness”) did not want the Plaintiff
prosecuted and furthermore were refusing to testify against the Plaintiff
in case NEWDC-CR-18-20309 (25) has been communicated to the
Plaintiff in approximately mid-late 2017 and throughout the years of
2018 — 2020 numerous times by the Plaintiffs Mother and that fact has
since been confirmed by the Plaintiffs Father in early 2020. Exhibit B.

Philip Mohlar has continued the Plaintiffs 07/27/16 court hearing for
reasons of his own and without the Plaintiffs consent (Exhibit D).
Exhibit C, Exhibit D.

Furthermore, the motion for continuation of the 07/27/16 court hearing
filed by Philip Mohlar references a “Plea Agreement” and “Alternative
Dispute Resolution”. The details of this plea agreement were never
communicated to the Plaintiff until approximately 09/27/16, and any
other alternative dispute resolution was never discussed with the
Plaintiff whatsoever, although he reasonably and justifiably believes it
may have been the Title 15 Forensic Examination cited later and
extensively in this complaint. Exhibit C.

Philip Mohlar has continued the Plaintiffs next court hearing, scheduled
for 08/10/16 for reasons of his own (citing a personal vacation) and
without the Plaintiffs consent (Exhibit EK). Exhibit C, Exhibit E.
Case 1:20-cv-00149-LEW Document 1 Filed 04/27/20 Page9of57 PagelD#:9

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Philip Mohlar and the Plaintiff were both in attendance at the next
court hearing, held on 09/28/16, during which Philip Mohlar continued
the case until 11/30/16. Exhibit F.

Prior to the 09/28/16 court hearing beginning, the Plaintiff has told
Philip Mohlar specifically that he was frustrated with the lack of
progress in the case and wanted to speak with Penobscot District
Attorney Marianne Lynch by himself. Philip Mohlar looked both
surprised and worried by the Plaintiffs request and asked the Plaintiff
“Why, what are you going to say to her?” Plaintiff told Philip Mohlar he
was “going to plead his case” (which was in-fact very solid) and Philip
Mohlar told the Plaintiff that meeting Marianne Lynch was out of the
question. Exhibit F.

Prior to the 09/28/16 court hearing but after the event(s) cited in (748),
the Plaintiff was strongly cautioned, warned, and commanded by Philip
Mohlar to “not enter the courtroom for any reason whatsoever” while he
was inside and the hearing was taking place. Plaintiff therefore sat by
himself in the lobby of Newport District Court during his own 09/28/16
hearing. Plaintiff finds this command by Philip Mohlar to be self-
serving as well as self-serving the other parties named in this
complaint. Exhibit F.

It was only after the 09/28/16 court hearing that Philip Mohlar has
communicated to the Plaintiff any sort of plea agreement (presumably
cited in 40), although he cited this plea agreement as “tentative” and
said that it “would probably involve some counseling of some sort”
although the details were extremely vague and Philip Mohlar would not
tell the Plaintiff exactly that “counseling” entailed, so the Plaintiff
therefore had no idea what to do in order to fulfill this Plea Agreement
prior to his next court hearing scheduled for 11/30/16. Exhibit F.

Throughout the time spanning 07/01/16 — 10/30/16 the Plaintiff was
justifiably alarmed by the fact that no progress was being made by
Philip Mohlar, who had made the statements in (24 — 25) and who the
Plaintiff had paid to represent him as his Defense Attorney in NEWDC-
CR-16-20309. Exhibit C.

Throughout the time spanning 07/01/16 — 10/30/16 the Plaintiff has
made a very large amount of calls to Philip Mohlar’s Office (at least 2
per week), which were usually answered by Philip Mohlar’s secretary
who informed the Plaintiff that Philip Mohlar would get back to him as
soon as possible, although the Plaintiff almost never received a single
call-back from Philip Mohlar, and on those very rare occasions in which

-9-
Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 10o0f57 PagelD#: 10

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the Plaintiffs calls were actually returned, Philip Mohlar did it as a
token gesture and said he was returning the Plaintiff's call but did not
have time to talk with him at that time. Exhibit C.

The Plaintiff has, out of frustration resulting from the facts cited in
(47), personally stopped by the Law Office of Philip Mohlar
approximately three times during the time period of approximately
07/27/16 — 10/30/16, and each time he was chastised and berated by
Philip Mohlar’s secretary for “showing up unannounced” and each time
Philip Mohlar was likewise not present in his office to meet with the
Plaintiff as communicated by his secretary. Exhibit C.

During the last such visit, Philip Mohlar’s secretary told the Plaintiff
angrily and obviously frustrated, “would you please just hold on, 'm

. trying to keep this from blowing up!” Plaintiff looked at her

questioningly as he had no clue what she was talking about. The
secretary then informed him hastily that she had just tried to heat a
bagel (or something of that nature) and the microwave wasn’t working
properly. Plaintiff had the very distinct and very real impression that
the secretary was initially talking about the Plaintiffs case,
circumstances or situation “blowing up” and not any microwave, and
then changed her story when the Plaintiff did not play along. Exhibit C.

On 11/02/16 the Plaintiff has entered into an agreement by consent with
the alleged victim for a Protection from Abuse Order, case NEWDC-PA-
16-00103, under the auspice that it would “give The State of Maine no
reason to continue prosecuting the Plaintiff’ as well as “The alleged
victim’s father has been told by his attorney Dick Hartley that this
course of action was “in his best interest” if he wanted the State to drop
its criminal charges against the Plaintiff’. These statements were
communicated to the Plaintiff on or about 07/27/16 by Philip Mohlar and
were later confirmed by the Plaintiffs Mother and Father (“the alleged
victim”). Exhibit B.

However, it was clear during the subsequent NEWDC-CR-16-20309
proceedings, and verifiable from the hearing transcripts (Exhibit J,
Exhibit M) that this Protection from Abuse Order made no difference
upon The State of Maine, The District Attorney or Marianne Lynch’s
disposition towards the Plaintiff or case NEWDC-CR-20309 whatsoever.

Philip Mohlar has told the Plaintiff on the night of 10/30/17 that he had
exhausted the Plaintiffs entire $1,500 retainer and furthermore was not
interested in continuing to defend the Plaintiff. Philip Mohlar asked the
Plaintiff if he had any objection to Philip Mohlar withdrawing as his

-10-
Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Pagei1lof57 PagelD#: 11

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defense attorney, and the Plaintiff has replied “no” as clearly it is not in
the Plaintiffs best interest to be represented by an attorney who does
not want to represent him. Exhibit C.

On 10/31/17 Philip Mohlar has therefore submitted a Withdrawal of
Counsel in NEWDC-CR-16-20309 pursuant to the conversation in (52).
Exhibit G.

On 05/06/19, Philip Mohlar has been appointed by The Capital District
Court as his court-appointed attorney in KENDC-CR-18-20983 and
KENDC-CR-18-21183. Philip Mohlar has stated to The Capital District
Court, in a letter to That Court dated 05/15/19, that he was “not
comfortable accepting an appointment for these cases” and specifically
that “Mr. Plourde... ultimately fired me”. Exhibit H.

Philip Mohlar’s letter to the court in (4/54) and Exhibit H is directly
contradicted by the facts and evidence in (4/52 — 53) and Exhibit G.
Philip Mohlar has clearly lied to The Capital District Judicial Center
and the Plaintiff therefore asserts that Philip Mohlar is guilty of
Perjury. This Perjury was harmful to the Plaintiffs cases KENDC-CR-
18-20983 and KENDC-CR-18-21183 as at that time presiding Judge
Eric Walker was contending that the Plaintiff could not get along with
any attorneys, was strongly insinuating that the Plaintiff was firing his
court-appointed attorneys without reasonable or justifiable cause for the
purpose of extending his trial date, and the Plaintiff was in very real
danger of losing his right to a court-appointed attorney pursuant to M.R.
Civ. P. 44(B) as communicated to him by Judge Eric Walker.
Furthermore, the Plaintiff was and is indigent and therefore could not
afford to retain an attorney himself. Exhibit I.

Philip Mohlar’s letter to the court in (4/54) and Exhibit H is directly
contradicted by the facts and evidence in (4/52 — 53) and Exhibit G.
Furthermore, Philip Mohlar’s Perjurious statement(s) to Judge Eric
Walker and The Capital Judicial Center has defamed the Plaintiffs
character both in those cases (as cited in 955), which are Public Record,
and has furthermore defamed the Plaintiffs character by portraying the
Plaintiff as a man who goes about firing lawyers for frivolous reasons
hoping to extend his trial date, the motive for this action would be
reasonably concluded to be that the Plaintiff was guilty and therefore
hoping to prolong the time before which a guilty verdict would be
rendered, at which time he would serve jail time. Plaintiff therefore
asserts that Philip Mohlar is guilty of Defamation of Character (Libel) of
the Plaintiff.

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Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 12o0f57 PagelD#: 12

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The Plaintiff therefore asserts, for the reasons cited in (4/24 — 32, 38 —
56) that Philip Mohlar has practiced intentional and malicious Attorney
Malpractice.

The Plaintiff therefore asserts, for the reasons cited in ({/24 — 32, 38, 50
— 51) that Dick Hartley has practiced intentional and malicious
Attorney Malpractice.

The Plaintiff has appeared by himself and unrepresented at the
11/30/16 NEWDC-CR-16-20309 hearing knowing only that there “was a
tentative plea agreement on the table that would probably involve some
counseling”, and nothing more (45). Exhibit C.

The 11/30/16 hearing did not go as smoothly as the Plaintiff had
anticipated, which is an understatement, as any person impartial
person would agree by reading the trial transcript. Exhibit J.

Prior to entering the courtroom, the Plaintiff had a chance to meet with
Penobscot District Attorney Marianne Lynch “off the record”, during
which he has handed her Exhibit AA, a copy of the White-Paper that
was delivered by hand to The Office of the Maine State Attorney
General on 11/03/16 as well informed her of some Facts that have
positively occurred to the Plaintiff on or about the date of 11/19/15 —
11/20/15. The Plaintiff has provided her the cited exhibit and disclosed
the facts as cited in this paragraph in the hopes that The Penobscot
County District Attorney's Office would investigate those facts and
bring the perpetrators to justice. Exhibit K and Exhibit AA.

Marianne Lynch’s response was entirely different and unexpected than
the Plaintiffs idea of what an Honest District Attorney’s response would
be. Instead of investigating the heinous crimes cited in Exhibit K and
related to her by the Plaintiff in (61), Marianne Lynch immediately
stated that the Facts (sometimes “spinning” them) that have verifiably
and positively occurred to the Plaintiff that he has related to her in
(59) gave her reason to demand a Title 15 Forensic Examination of the
Plaintiff by The State of Maine. Exhibit J, interspersed throughout
entire hearing.

Marianne Lynch herself recognized that there was indeed a plea
agreement on the table that did not involve a Title 15 Forensic
Examination of the Plaintiff by The State of Maine (Exhibit J, page 3).

The hearing next consisted (but not exclusively) of Marianne Lynch
attempting to get the Plaintiff to accept a court-appointed attorney, an

= 12-
Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 13 o0f57 PagelD#: 13

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attorney that the Plaintiff was not rightfully eligible for at that time
(and even if he was, Marianne Lynch had no lawful way of knowing
that), and a lawyer that the Plaintiff refused to allow The Court to
appoint for him due to his experience with Phil Mohlar as described in
this complaint, Exhibit C, and during the 11/30/16 hearing. (Exhibit J
pages 3 — 20, interspersed).

The rest of the 11/30/16 hearing could be properly summarized as
follows. The Plaintiff has attempted to get the Firm and Necessary
Terms of the plea agreement regarding the counseling that The State of
Maine, The District Attorney’s Office and Marianne Lynch were asking
for, a question which both Marianne Lynch and Charles Budd were both
adept at avoiding. Marianne Lynch repeatedly requested that the
Plaintiff see a counselor specifically from Acadia Hospital (and nowhere
else in the entire state), and specifically “Anne LeBlanc” (and no one
else in the entire state), which the Plaintiff did not want to do for facts
he stated both On the Record during the 11/30/16 hearing (Exhibit J)
and facts that are painfully evident in Civil Action 1:20-cv-00043-JAW,
Glen Plourde v. Northern Light Acadia Hospital et al. Marianne Lynch
continually asked for a Title 15 Forensic Examination, and there was
some double-talk surrounding whether or not one would be or had been
ordered (Exhibit J, pages 29 — 30, 35), although the Plaintiff left with
the reasonable and compelling belief that Judge Charles Budd had not
ordered a Title 15 Forensic Examination of the Plaintiff as he has stated
that he would order one at the next hearing if Marianne Lynch was
unsatisfied with the counseling the Plaintiff had been receiving (Exhibit
J, page 35). This reasonable and compelling belief that no Title 15
Forensic Examination had been ordered was furthermore corroborated
during the 03/22/17 hearing as Judge Charles Budd has stated

numerous times that he has not ordered a Title 15 Examination of the
Plaintiff ({4/73 — 83), and is furthermore corroborated by the fact that on
04/03/17 Marianne Lynch has made Official Motion for a Title 15
Forensic Evaluation of the Plaintiff (Exhibit L), all of which is On The
Record and will be explained at the appropriate time within this
complaint. Exhibit J, Exhibit L.

There are additional dirty details in the 11/30/16 Trial Transcript and
the Transcript should be read in its entirety for proper context and
undertones. Exhibit J.

One such dirty detail is Newport District Court Judge Charles Budd
specifically asking Penobscot District Attorney Marianne Lynch if he is
allowed to order “Anne LeBlanc” to participate in the Plaintiffs
counseling. The exact quotation is “Am I [Judge Charles Budd] ina

~13-
Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page14o0f57 PagelD#: 14

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position to order Ms. LeBlanc to participate in counseling like this”
(Exhibit J, page 29, lines 18 — 19). Marianne Lynch immediately
responds in the affirmative with some explanation (Exhibit J, page 29,
lines 20 — 22), and then Judge Budd proceeds to act on Marianne
Lynch’s answer without any due diligence of his own (Exhibit J, page
30).

Excuse me, just who is the Judge and who is the Prosecutor in this case?
The roles in this exchange and decision ([67) are reversed.

There are additional dirty details in the 11/30/16 Trial Transcript and
the Transcript should be read in its entirety for proper context and
undertones. The Plaintiff will not dilute his complaint at this time with
each and every “dirty detail” although an impartial reading of the
transcript will reveal The Plaintiff was clearly being “played for a fool”
and manipulated by both Marianne Lynch and Judge Charles Budd,
working in conjunction with one another (“conspiracy and collusion’).
Exhibit J.

The next hearing was scheduled for 03/22/17. Much like the 11/30/16
hearing, it did not go as smoothly as the Plaintiff had anticipated, as
any impartial reading of the 03/22/17 trial transcript would agree.
Exhibit M.

The Plaintiff was unfortunately unable to obtain the assistance of a
counselor before the 03/22/17 hearing as he had trouble finding a
counselor in the Skowhegan area that could meet with him prior to that
date. Furthermore, the Plaintiff was involved, directly in front of his
residence at that time, 125 West Front Street, Skowhegan Maine 04976,
in a hit-and-run which left his vehicle totaled on 12/23/16. Additionally,
due to events detailed in Civil Action 1:20-cv-00011-JAW Glen Plourde
v. Redington-Fairview General Hospital et al. and 1:20-cv-00043-JAW
Glen Plourde v. Northern Light Acadia Hospital et al., the Plaintiff has
been detained and held against his will between the dates of 01/11/17 —
02/08/17 which precluded him from attending counseling sessions
pursuant to his plea agreement. Finally, the Plaintiff was unable to
replace his totaled vehicle until approximately 03/15/17.

Everything the Plaintiff has stated in this complaint regarding the
11/30/16 hearing ({159 — 68) is corroborated by both the 11/30/16
hearing trial transcript (Exhibit J) as well as the 03/22/17 hearing trial
transcript (Exhibit M), with a notable exception, which will be detailed
below.

-14-
Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 15o0f57 PagelD#: 15

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The 03/22/17 hearing began with Penobscot Assistant District Attorney
Stephen Burlock (“Stephen Burlock”), who was filling in for Marianne
Lynch that day, asking Judge Charles Budd for the results of the Title
15 Forensic Examination (“Title 15”) which Mariann Lynch’s trial notes
indicated had been ordered, presumably pursuant to Exhibit J, pages 29
— 30 (65). Exhibit M, pages 1 — 3.

Judge Charles Budd then states numerous times that “there is no
indication in my [Judge Budd’s] file that a Title 15 was ordered”,
presumably pursuant to Exhibit J, page 35 (165). Most of these
admissions look suspiciously like an attempt to cover up malfeasance,
particularly the admissions on pages 10, 12, and 13 and those
continuing throughout the trial. Exhibit M, pages 3, 10, 12, 138, and
entire transcript thereafter, interspersed.

Additionally and even more suspiciously, Judge Charles Budd “cannot
recall” who was the presiding Judge during the 11/80/16 NEWDC-CR-
16-20309 hearing, although he has already suspiciously stated that he
has not ordered a Title 15 of the Plaintiff during that meeting (73), and
“blames it” on Justice Anderson, who Judge Charles Budd identifies
from his trial notes as being the presiding Judge during the 11/30/16
hearing, although the presiding judge was clearly himself, Judge
Charles Budd, and is identified in the 11/30/16 trial transcript (Exhibit
J) as being him. Exhibit M, page 12, Exhibit J.

Directly after Judge Budd’s statements cited in (74), there is a
suspiciously large amount of conversation (twice in three sentences)
between “The Court” (Judge Charles Budd) and “The Clerk” (not
identified) that is apparently not considered “On the Record” as the
contents of those “sidebars” have not been included in the 03/22/17 trial
transcript, although the break in the conversation has been. Exhibit M
pages 12-138.

Furthermore and even more suspiciously, Penobscot Assistant District
Attorney Stephen Burlock has previously stated that Marianne Lynch’s
trial notes state that Judge Budd was the presiding Judge on 11/30/16
(Exhibit M, page 12), however after Judge Budd “fingers” Justice
Anderson (473 — 74), Stephen Burlock does a complete “U-Turn” in his
testimony and then concurs with Judge Charles Budd’s inaccurate
(fraudulent) assessment that it was Justice Anderson who presided over
the 11/30/16 hearing, and now says that Marianne Lynch’s trial notes
indeed indicate that it was Justice Anderson presiding over the 11/30/16
hearing. Exhibit M, pages 12— 18.

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Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 16o0f57 PagelD#: 16

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Due to the fact that both Judge Charles Budd’s trial notes (774) and
Penobscot County District Attorney Marianne Lynch’s trial notes, as
relayed to The Court by Stephen Burlock (76), both fraudulently
indicate that it was Justice Anderson who presided over the 11/30/16
hearing (and/or probably ordered a Title 15 of the Plaintiff, as is
reasonably concluded), during which a Title 15 of the Plaintiff was
probably in all actuality ordered (65, 72 — 76), and due to the fact that
the topic of whether or not a Title 15 had been ordered was being
debated and was in contention between Judge Charles Budd and
Assistant District Attorney Stephen Burlock (72 — 76), the Plaintiff
asserts that there is clearly nefarious activity and malfeasance going on
here, as any reasonable, rationale and intelligent person (i.e. a Jury)
would agree, and the Plaintiff has therefore named Justice Anderson as
a Defendant in this complaint, as both the Penobscot County District
Attorney’s trial notes and the Newport District Court’s trial notes
fraudulently identify him as the presiding Judge on 11/30/16 (or perhaps
more precisely the Judge who has ordered a Title 15 of the Plaintiff,
(165, 72 — 76), although the 11/30/16 trial transcript (Exhibit J) clearly
identifies the presiding Judge as Judge Charles Budd and it is clearly
Judge Charles Budd’s voice heard on the 11/30/16 trial audio transcript.
The Plaintiff is aware of the fact that the standard of evidence in this
case is a preponderance of the evidence.

Furthermore, it was Judge Charles Budd who presided over the
majority of NEWDC-PA-16-00103 and the entirety of NEWDC-CR-16-
20309. The Plaintiff does not presume to be famous although objectively
speaking he is no stranger to The Federal or Maine State Governments
and Court System(s), not to mention Judge Charles Budd in particular,
and concludes therefore that it is highly improbable and downright
unbelievable that Judge Budd did not recall being the Presiding Judge
on 11/30/16. This fact bolsters the Plaintiffs assertion in (477).

The Plaintiff therefore asserts, for the facts cited in (72 — 78),
particularly (474 — 80, 78) although the entirety of (4/72 — 78) is
relevant, that both Judge Charles Budd and Penobscot County
Assistant District Attorney Stephen Burlock are guilty of Perjury, as
Judge Budd denies being the presiding Judge on 11/30/16 and identifies
that Judge as Justice Anderson, and Stephen Burlock has done a
complete about-face and has offered contradicting testimony by first
stating that Marianne Lynch’s trial notes indicate that Judge Budd was
the presiding Judge on 11/30/16 and after Judge Budd “fingers” Justice
Anderson, Stephen Burlock concurs that Marianne Lynch’s trial notes
do in-fact list Justice Anderson as being the presiding Judge on
11/30/16. This perjury is injurious to the Plaintiff and beneficial to

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Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page17of57 PagelD#: 17

Judge Budd and Marianne Lynch as it provides cover for prosecutorial
and judicial malfeasance and gives the appearance that a higher
authority, that being a Maine State Supreme Court Justice, was
required to hear the Plaintiffs district court case NEWDC-CR-16-20309
on 11/80/16.

80. The Plaintiff therefore asserts, for the facts listed in (72 — 78), that
there has been falsification and tampering with the trial court records,
particularly The District Attorney’s Office Trial Notes, the Newport
District Court’s Trial Notes, and the 11/30/16 and 03/22/17 NEWDC-CR-
16-20309 Trial Transcripts, the last two being Public Record.
Furthermore, the Plaintiff asserts that there have been falsification and
tamping with the KENDC-CR-18-20983 and KENDC-CR-18-21183
records by Philip Mohlar, which are also Public Record, as described in

(4/153 — 56).

81. The Plaintiff furthermore asserts, for the facts listed in (72 — 78), that
he has been victim to Defamation of Character by Marianne Lynch,
Stephen Burlock, and Judge Budd as the 11/30/16 (Exhibit J) and
03/22/17 (Exhibit M) NEWDC-CR-16-20309 Trial Transcripts are Public
Record and they imply that the Plaintiff has undergone or strongly
suggest that the Plaintiff may have undergone a court-ordered Title 15
Forensic Examination (and may in fact be correct as cited in 4/]70, 72 —
78, 88 although unknown and uncommunicated to the Plaintiff), and
any reader reading these public documents would therefore reach the
logical conclusion that the Plaintiffs Mental Health is highly-
questionable and in-particular bad enough to warrant a Court-Ordered
Maine State Title 15 Forensic Examination of him prior to allowing him
to defend himself Pro Se. Additionally, the Plaintiff is made to appear
by Stephen Burlock (and to a lesser extent Judge Budd, Exhibit M, page
32) as some “raving lunatic” who has undergone a Court-Ordered Maine
State Title 15 Forensic Examination and is now stating to The Court, at
length, that there was a plea agreement with The State of Maine
reached on 11/80/16, which is evident in the 11/30/16 Trial Transcript
(Exhibit J) although Stephen Burlock and Judge Budd are now denying
any knowledge of that plea agreement at the very next court hearing on
03/22/17 (Exhibit M). Exhibits J, M.

82. Due to the highly suspicious and fraudulent statements made by both
Judge Budd and Assistant District Attorney Stephen Burlock, as cited
in (472 — 81), the Plaintiff reasonably concludes that anything stated by
either Judge Budd or Stephen Burlock after approximately page 13 of
the 03/22/17 Trial Transcript (Exhibit M) is highly suspect and should

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Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 18o0f57 PagelD#: 18

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be treated as such; however there are additional relevant issues within
those pages that require proper examination in this complaint.

The rest of the 03/22/17 hearing could be properly summarized as
follows. The Plaintiff was constantly and correctly stating to The Court
that there was a 11/30/16 plea agreement in place, as well as stating the
exact details of that plea agreement, and furthermore stating his
intentions to fulfill it; Stephen Burlock was denying any knowledge of
any such plea agreement and stating that there was no mention of any
such plea agreement in the Marianne Lynch’s notes, and was continuing
to push for a Title 15 Forensic Examination of the Plaintiff, which may
have already occurred as cited in ({72 — 76, 81); and Judge Budd was
denying knowledge of any such plea agreement as well as continually
and suspiciously denying ever having ordered a Title 15 Forensic
Examination of the Plaintiff a suspiciously large amount of times.
Exhibit M.

There are some additional dirty details in the 03/22/17 hearing, as there
were in the 11/30/16 hearing, that require examination and
investigation.

The Plaintiff was literally beside himself and his anxiety level was at a
near-record high as both The State of Maine and The Court were
denying any knowledge of an 11/30/16 plea agreement and the
suspicious and fraudulent statements cited in (72 — 81) had been
made by both The State of Maine and The Court and it was clear to the
Plaintiff that he was being “played for a fool” and “railroaded” by both
The State of Maine and The Court. The Plaintiff has therefore asked
Judge Budd if a record of the 11/30/16 hearing existed, as he was at the
time a legal novice with no court experience whatsoever and honestly
did not know. Judge Budd has replied that “There might be an audio
recording”, which appears to be a very self-serving statement to both
himself and associated Defendants named in this action, as anyone who
knows anything about Open Court knows about “The Record” (although
the Plaintiff did not as described in this paragraph), Judge Budd as an
Impartial Judge could have and should have informed the Plaintiff that
there was definitely an audio record with a decisive answer and could
have and should have furthermore instructed the Plaintiff upon how to
go about obtaining it, which he did not, another action which the
Plaintiff finds to be self-serving to both Judge Budd and associated
Defendants named in this Action. The Plaintiff finds this action
unsurprising as The State of Maine, their Prosecutors, and Judge Budd
are caught red-handed by the Plaintiff as described in (72 — 81) and
elsewhere in this complaint. Exhibit M, page 20.

-18 -
Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 19o0f57 PagelD#: 19

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Judge Budd has tried to obfuscate the Fact that attorney Dick Hartley
had been hired by the alleged victim in order to convince the prosecution
to abandon their criminal case against the Plaintiff as discussed in
(4/25 — 27, 38) by stating to the Plaintiff that he would need to “check
with the alleged victim to make sure a plea agreement of “mere
counseling” was satisfactory punishment in the opinion of the alleged
victim”, which is absurd and fraudulent as the opinion of the alleged
victim had already been stated to The District Attorney’s Office (4/25 —
27, 38) and one reasonably concludes that The Court was aware of this
fact. When challenged by the Plaintiff about how exactly Marianne
Lynch could have extended a plea agreement to the Plaintiff in the first
place without already having consulted the alleged victim, Judge Budd
continues to attempt to obfuscate the issue, is finally cornered by the
Plaintiff and replies simply “That’s a Fair Question”. Exhibit M, page
32.

There are additional dirty details in the 03/22/17 Trial Transcript and
the transcript should be read in its entirety for proper context and
undertones. The Plaintiff will not dilute his complaint at this time with
each and every “dirty detail” although an impartial reading of the
transcript will reveal The Plaintiff was clearly being “played for a fool”
and manipulated by both Stephen Burlock and Judge Charles Budd,
working in conjunction with one another (“conspiracy and collusion”).
Exhibit M.

The “mere counseling” required pursuant to the plea agreement between
The State of Maine and the Plaintiff, as referenced in ({86), has in-fact
been a living nightmare, to the extent that it has merited its own
separate complaint, 1:20-cv-00137-JAW, Glen Plourde v. The State of
Moine et al. Within that complaint you will find additional details
which fortify the Plaintiff's assertions in this complaint, but are not
necessary to prove the Plaintiffs assertions in this complaint.

At the next NEWDC-CR-16-20309 hearing held 04/26/17, the Plaintiff
was met in the lobby by a smiling Penobscot County District Attorney
Marianne Lynch who handed him a dismissal. On that dismissal
“Witness Unavailable” was indicated. Exhibit N.

It is clear from the facts of this complaint that “Witness Unavailable”
had been the fact since approximately 07/27/16 (925 — 28, 38) and that
NEWDC-CR-16-20309 should have been rightfully and justifiably
dropped at that time. The Plaintiff has reminded Marianne Lynch of
that fact in his First Three Points (1 — 3) in a “Motion to Dismiss” filed

-19-
Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 200f57 PagelD#: 20

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by the Plaintiff with The Court on 04/18/17 (Exhibit O). However, The
State of Maine has continued to prosecute the Plaintiff an additional 9
months, at the expense of the Plaintiff and his family and much to the
benefit (profit and gain) of the Defendants in this case. Exhibit O.

The Bail Conditions levied upon the Plaintiff pursuant to his 06/13/16
release from Penobscot County Jail have been needlessly extended an
additional 9 months, to the gain and profit of the Defendants and at the
expense of the Plaintiff.

The State of Maine has had the opportunity to witness the Plaintiff and
his attorney’s interactions and the results of those interactions for an
additional 9 months, to the gain and profit of the Defendants and at the
expense of the Plaintiff.

The State of Maine has had the opportunity to witness the Plaintiff and
get him On the Record Pro Se in Open Court for an additional 9 months,
to the gain and profit of the Defendants and at the expense of the
Plaintiff.

The State of Maine has had the opportunity to order Mental Health
Counseling, which the Plaintiff has complied with (88), and a Title 15
Forensic Examination of the Plaintiff when they otherwise would not
have had this opportunity if the case was dropped, as it should have
been, on or about 07/27/16 (790). This is clearly to the gain and profit of
the Defendants at the expense of the Plaintiff.

The State of Maine has had the opportunity to receive the results of that
Mental Health Counseling and Title 15 Forensic Examination of the
Plaintiff when they otherwise would not have had this opportunity if the
case was dropped, as it should have been, on or about 07/27/16 (4/88,
90, 94). This is clearly to the gain and profit of the Defendants at the
expense of the Plaintiff.

The State of Maine has had the opportunity to assess the Plaintiffs
Legal Acumen as a Pro Se Litigant for an additional 9 months, to the
gain and profit of the Defendants at the expense of the Plaintiff.

The gain and profit in (496) cannot be understated as the Plaintiff has
since that time been victim to numerous crimes visited upon him by The
State of Maine and The Federal Government, some of which he has
already filed actions for in Federal District Court and Maine State
Superior Court, and some of which remain unfiled but will be filed.

-20-
Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 210f57 PagelD#: 21

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Furthermore, the Plaintiff has been a victim of Torture at the hands of
The Federal Government (Exhibit A) and has reported that Torture to
Bangor Police Officer David Trumbull on or about 11/20/15 (Exhibit A,
pages 4—5, line items 9 — 11), Attorney Philip Mohlar at his office on or
about 10/01/16 (Exhibit A, pages 9 — 10, line item 17k), The Maine State
and Federal Governments (4/23) as well as Marianne Lynch (461).
Torture is both a Federal and International Crime, as well as a War
Crime, and is in some cases punishable by Death. It is no surprise that
The Government would wish to gauge the Plaintiffs Legal Acumen
when they know they have Tortured the Plaintiff and know that the
Plaintiff is well-prepared and exceedingly capable of proving it.

For the facts cited in (f990 — 98), it is clear that The Government and
associated Defendants have benefited tremendously at the tremendous
expense of the Plaintiff as a result of prosecuting him for an additional 9
months when it is clear NEWDC-CR-18-20309 should have been
dropped on or about 07/27/16 (490).

It is furthermore clear, for the facts cited in (790 — 99), that The
Government and associated Defendants have improperly and illegally
obtained results from the legal process for which the legal process was
not designed.

The Plaintiff has a reasonable, compelling, and unwavering belief that
all assertions and Counts within this complaint will be fortified by
additional facts obtained through the Formal Discovery Process and
furthermore asserts that all assertions and Counts within this
complaint will be proven beyond a reasonable doubt. The Plaintiff is
aware that the standard of evidence in this case is a preponderance of
the evidence.

The Plaintiff therefore asserts, for the facts cited in (24 — 101) that
there has been conspiracy and collusion between The State of Maine,
Justice William Anderson, Judge Charles Budd, The Penobscot County
District Attorney’s Office, Penobscot County District Attorney Marianne
Lynch, Penobscot County Assistant District Attorney Stephen Burlock,
Skowhegan attorney Philip Mohlar, and Bangor attorney Dick Hartley
in order to improperly interfere with the Defendant’s rights to face his
accuser, a violation of his Fourth Amendment Constitutional Right
under the United States Constitution. The Plaintiff finds that any
reasonable and intelligent person (i.e. a Jury) would agree.

The Plaintiff therefore asserts, for the facts cited in (¥24 — 101) that
there has been conspiracy and collusion between The State of Maine,

-21-
Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 22 0f57 PagelD#: 22

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Justice William Anderson, Judge Charles Budd, The Penobscot County
District Attorney’s Office, Penobscot County District Attorney Marianne
Lynch, Penobscot County Assistant District Attorney Stephen Burlock,
Skowhegan attorney Philip Mohlar, and Bangor attorney Dick Hartley
in order to interfere with the Defendant’s rights to procedural Due
Process, a violation of his Fifth Amendment Constitutional Right under
the United States Constitution. The Plaintiff finds that any reasonable
and intelligent person (i.e. a Jury) would agree.

The Plaintiff therefore asserts, for the facts cited in (4/24 — 101) that
there has been conspiracy and collusion between The State of Maine,
Justice William Anderson, Judge Charles Budd, The Penobscot County
District Attorney's Office, Penobscot County District Attorney Marianne
Lynch, Penobscot County Assistant District Attorney Stephen Burlock,
Skowhegan attorney Philip Mohlar, and Bangor attorney Dick Hartley
in order to interfere with the Defendant’s rights to substantive Due
Process, a violation of his Fifth Amendment Constitutional Right under
the United States Constitution. The Plaintiff finds that any reasonable
and intelligent person (i.e. a Jury) would agree.

The Plaintiff therefore asserts, for the facts cited in (24 — 101) that
there has been conspiracy and collusion between The State of Maine,
Justice William Anderson, Judge Charles Budd, The Penobscot County
District Attorney’s Office, Penobscot County District Attorney Marianne
Lynch, Penobscot County Assistant District Attorney Stephen Burlock,
Skowhegan attorney Philip Mohlar, and Bangor attorney Dick Hartley
in order to Maliciously Prosecute the Plaintiff, a violation of his Fourth
Amendment Constitutional Right under the United States Constitution.
The Plaintiff finds that any reasonable and intelligent person (1.e. a
Jury) would agree.

The Plaintiff therefore asserts, for the facts cited in (24 — 101) that
there has been conspiracy and collusion between The State of Maine,
Justice William Anderson, Judge Charles Budd, The Penobscot County
District Attorney’s Office, Penobscot County District Attorney Marianne
Lynch, Penobscot County Assistant District Attorney Stephen Burlock,
Skowhegan attorney Philip Mohlar, and Bangor attorney Dick Hartley
in order to commit Malicious Prosecution of the Plaintiff. The Plaintiff
finds that any reasonable and intelligent person (i.e. a Jury) would
agree.

The Plaintiff therefore asserts, for the facts cited in (24 — 101) that
there has been conspiracy and collusion between The State of Maine,
Justice William Anderson, Judge Charles Budd, The Penobscot County

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Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 23 0f57 PagelD#: 23

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District Attorney’s Office, Penobscot County District Attorney Marianne
Lynch, Penobscot County Assistant District Attorney Stephen Burlock,
Skowhegan attorney Philip Mohlar, and Bangor attorney Dick Hartley
in order to commit Abuse of Process upon the Plaintiff, a violation of his
Fourth Amendment Constitutional Right under the United States
Constitution. The Plaintiff finds that any reasonable and intelligent
person (i.e. a Jury) would agree.

The Plaintiff therefore asserts, for the facts cited in (424 — 101) that
there has been conspiracy and collusion between The State of Maine,
Justice William Anderson, Judge Charles Budd, The Penobscot County
District Attorney’s Office, Penobscot County District Attorney Marianne
Lynch, Penobscot County Assistant District Attorney Stephen Burlock,
Skowhegan attorney Philip Mohlar, and Bangor attorney Dick Hartley
in order to commit Abuse of Process upon the Plaintiff. The Plaintiff
finds that any reasonable and intelligent person (i.e. a Jury) would
agree.

The Plaintiff therefore asserts, for the facts cited in (4/24 — 101) that
there has been conspiracy and collusion between The State of Maine,
Justice William Anderson, Judge Charles Budd, The Penobscot County
District Attorney’s Office, Penobscot County District Attorney Marianne
Lynch, Penobscot County Assistant District Attorney Stephen Burlock,
Skowhegan attorney Philip Mohlar, and Bangor attorney Dick Hartley
in order to commit Malicious and Intentional Attorney Malpractice. The
Plaintiff finds that any reasonable and intelligent person (i.e. a Jury)
would agree.

The Plaintiff therefore asserts, for the facts cited in (424 — 101) that
there has been conspiracy and collusion between The State of Maine,
Justice William Anderson, Judge Charles Budd, The Penobscot County
District Attorney’s Office, Penobscot County District Attorney Marianne
Lynch, Penobscot County Assistant District Attorney Stephen Burlock,
Skowhegan attorney Philip Mohlar, and Bangor attorney Dick Hartley
in order to commit Malicious and Intentional Tamping with and
Falsification of Public Court Records. The Plaintiff finds that any
reasonable and intelligent person (i.e. a Jury) would agree.

The Plaintiff therefore asserts, for the facts cited in (24 — 101) that
there has been conspiracy and collusion between The State of Maine,
Justice William Anderson, Judge Charles Budd, The Penobscot County
District Attorney’s Office, Penobscot County District Attorney Marianne
Lynch, Penobscot County Assistant District Attorney Stephen Burlock,
Skowhegan attorney Philip Mohlar, and Bangor attorney Dick Hartley

-23-
Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 240f57 PagelD#: 24

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in order to commit Malicious and Intentional Defamation of Character
of the Plaintiff. The Plaintiff finds that any reasonable and intelligent
person (i.e. a Jury) would agree.

The Plaintiff therefore asserts, for the facts cited in (4/24 — 101) that
there has been conspiracy and collusion between The State of Maine,
Justice William Anderson, Judge Charles Budd, The Penobscot County
District Attorney’s Office, Penobscot County District Attorney Marianne
Lynch, Penobscot County Assistant District Attorney Stephen Burlock,
Skowhegan attorney Philip Mohlar, and Bangor attorney Dick Hartley
in order to commit Malicious and Intentional Perjury. The Plaintiff
finds that any reasonable and intelligent person (i.e. a Jury) would
agree.

The Plaintiff has been diagnosed with Post Traumatic Stress Disorder
(“PTSD”) in approximately 2006 and his experiences with The
Defendants as described in this complaint has very seriously aggravated
that condition and has left a lasting scar on his psychological and
emotional well-being that will last his entire lifetime, and he is well-
aware of that fact.

The Plaintiff now harbors a well-founded distrust of The State of Maine
and The Maine State Court System as it is clear, from the facts of this
complaint, that The State of Maine and The Maine State Court System
have abusively and maliciously prosecuted the Plaintiff and have
furthermore illegally exploited him for their own personal profit and
gain and the Plaintiff has suffered greatly in order for the Defendants to
profit and gain from this unnecessary and illegal experience. The
Plaintiff knows that this distrust is not likely to abate within his
lifetime.

The Plaintiffs character has been intentionally and maliciously defamed
by the Defendants as cited in this complaint and that defamation cannot
be undone and The Records containing that defamation are publicly
available to anyone who wishes to inspect the NEWDC-CR-16-20309 or
corresponding PENDC-CR-16-20309 docket and Trial Transcripts, as
well as the KENDC-CR-18-20983 and KENDC-CR-18-21183 dockets
and Trial Transcripts. Anyone hearing that “The Plaintiff has been
prosecuted for nearly a year for domestic violence assault” will get the
distinct impression that the Plaintiff has done something very bad, as
The State is usually assumed to be “The Good Guys” and The Defendant
is usually assumed to be the “Bad Guys”, particularly by Law-Abiding
Citizens and particularly in criminal proceedings. They will not receive
the proper impression that the Plaintiff has been Maliciously Exploited

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Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 25o0f57 PagelD#: 25

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for the gain of The Defendants, as is what has actually happened as has
been both reported and proven within this complaint. The Plaintiff is
angered that his character has been permanently defamed by the
Defendants and he can think of nothing that could possibly undue the
results of this defamation that he has suffered between then and now or
the future.

Plaintiff is scared and worried for the safety of both himself and his
parents as it is clear that they have been used and exploited by The
State of Maine and the Maine State Court System. The Plaintiff now
harbors a well-founded distrust with the Maine State Legal System as it
is clear his family has been exploited by it for the Defendants own
personal gain and profit which has come at the expense of the Plaintiff
and his Family. The Plaintiffs parents are now officially considered
“Senior Citizens” and the Plaintiff has justifiable fears that they can be
and are more easily manipulated by The State of Maine as a result of
this experience. The Plaintiff knows that his well-founded distrust of
the Maine State Legal System is unlikely to be remedied anytime within
his lifetime.

Plaintiffs idea of a Just and Impartial Court System has been forever
indelibly tarnished as a result of his experience in NEWDC-CR-16-
20309 as it is clear from the facts of this complaint that all Defendants
were working together and colluding and conspiring with one another
for their own profit and gain at the expense of the Plaintiff and his
Family (exploitation). The Plaintiff once believed that The Court was
perhaps the one last bastion of Fairness, Equality, and Justice but no
longer harbors any such naivety. The Plaintiff asserts it was a “better
world to live in” when he still thought that Justice could be found within
The Court System and knows that that “better world” he once thought of
is now forever gone as a result of this experience.

Plaintiff knows he has been abused and exploited by The Defendants for
reasons that have been detailed in this complaint and reasons that
should be obvious within this complaint. The Plaintiff is ashamed that
he has allowed himself to be “played for a fool” and abused and exploited
as described in this complaint and still bears the burden of that shame
to this day and likely will for the rest of his life, and he knows it.

-25-
Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 26 0f57 PagelD #: 26

IV. Claims for Relief

Count 1

42 U.S.C. § 1985 — Conspiracy to Deprive United States Constitutional

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124.

Rights, 5s Amendment Right to Substantive Due Process.
Glen Plourde v. The State of Maine et al.
Paragraphs (15) — (118) are incorporated by reference as if pled herein.

Plaintiff sues Penobscot County Superior Court Justice William
Anderson in both the individual and official capacity(s).

Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

Plaintiff asserts that all Defendants have conspired to deprive him of
his Fifth Amendment Rights to Substantive Due Process, as applied to
the States by the Fourteenth Amendment, as described within this
complaint and are therefore liable to the Plaintiff for damages under 42
U.S.C. § 1985 as well as punitive damages to deter such Conspiracy to
Deprive Substantive Due Process from occurring to the Plaintiff or to
any other citizen again.

Count 2

42 U.S.C. § 1983 — Deprivation of United States Constitutional Rights,

125.

126.

5th Amendment Right to Substantive Due Process.
Glen Plourde v. The State of Maine et al.
Paragraphs (15) — (118) are incorporated by reference as if pled herein.

Plaintiff sues Penobscot County Superior Court Justice William
Anderson in both the individual and official capacity(s).

-26-
Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 27 of 57 PagelD#: 27

127.

128.

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Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

Plaintiff asserts that all Defendants have deprived him of his Fifth
Amendment Rights to Substantive Due Process, as applied to the States
by the Fourteenth Amendment, as described within this complaint and
are therefore liable to the Plaintiff for damages under 42 U.S.C. § 1983
as well as punitive damages to deter such Deprivation of Substantive
Due Process from occurring to the Plaintiff or to any other citizen again.

Count 3

42 U.S.C. § 1985 — Conspiracy to Deprive United States Constitutional

131.

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134.

135.

136.

Rights, 5th Amendment Right to Procedural Due Process.
Glen Plourde v. The State of Maine et al.
Paragraphs (15) — (118) are incorporated by reference as if pled herein.

Plaintiff sues Penobscot County Superior Court Justice William
Anderson in both the individual and official capacity(s).

Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

Plaintiff asserts that all Defendants have conspired to deprive him of
his Fifth Amendment Rights to Procedural Due Process, as applied to
the States by the Fourteenth Amendment, as described within this
complaint and are therefore liable to the Plaintiff for damages under 42
U.S.C. § 1985 as well as punitive damages to deter such Conspiracy to
Deprive Procedural Due Process from occurring to the Plaintiff or to any
other citizen again.

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Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 28 0f57 PagelD#: 28

137.

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Count 4

42 U.S.C. § 1983 — Deprivation of United States Constitutional Rights,
5th Amendment Right to Procedural Due Process.

Glen Plourde v. The State of Maine et al.
Paragraphs (13) — (118) are incorporated by reference as if pled herein.

Plaintiff sues Penobscot County Superior Court Justice William
Anderson in both the individual and official capacity(s).

Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

Plaintiff asserts that all Defendants have deprived him of his Fifth
Amendment Rights to procedural Due Process, as applied to the States
by the Fourteenth Amendment, as described within this complaint and
are therefore liable to the Plaintiff for damages under 42 U.S.C. § 1983
as well as punitive damages to deter such Deprivation of United States
Constitutional Rights from occurring to the Plaintiff or to any other
citizen again.
Count 5

42. U.S.C. § 1985 — Conspiracy to Deprive United States Constitutional
Rights, 44+ Amendment Right to Protection from Malicious Prosecution.

143

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Glen Plourde v. The State of Maine et al.
. Paragraphs (15) — (118) are incorporated by reference as if pled herein.

. Plaintiff sues Penobscot County Superior Court Justice William
Anderson in both the individual and official capacity(s).

. Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

- 28 -
Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 29 0f57 PagelD#: 29

146.

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148.

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

Plaintiff asserts that all Defendants have conspired to deprive him of
his Fourth Amendment Rights to Protection from Malicious Prosecution,
as applied to the States by the Fourteenth Amendment, as described
within this complaint and are therefore liable to the Plaintiff for
damages under 42 U.S.C. § 1985 as well as punitive damages to deter
such Conspiracy to Deprive Protection from Malicious Prosecution from
occurring to the Plaintiff or to any other citizen again.

Count 6

42 U.S.C. § 1983 — Deprivation of United States Constitutional Rights,

149.

150.

151.

152.

153.

154.

4th Amendment Right to Protection from Malicious Prosecution.
Glen Plourde v. The State of Maine et al.
Paragraphs (15) — (118) are incorporated by reference as if pled herein.

Plaintiff sues Penobscot County Superior Court Justice William
Anderson in both the individual and official capacity(s).

Plaintiff sues Newport District Court. Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

Plaintiff asserts that all Defendants have deprived him of his Fourth
Amendment Rights to Protection from Malicious Prosecution, as applied
to the States by the Fourteenth Amendment, as described within this
complaint and are therefore liable to the Plaintiff for damages under 42
U.S.C. § 1983 as well as punitive damages to deter such Deprivation of
Protection from Malicious Prosecution from occurring to the Plaintiff or
to any other citizen again.

Count 7

-29-
Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 300f57 PagelD #: 30

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163

42 U.S.C. § 1985 — Conspiracy to Deprive United States Constitutional
Rights, 4» Amendment Right to Protection from Abuse of Process.

Glen Plourde v. The State of Maine et al.
Paragraphs (15) — (118) are incorporated by reference as if pled herein.

Plaintiff sues Penobscot County Superior Court Justice William
Anderson in both the individual and official capacity(s).

Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

Plaintiff asserts that all Defendants have conspired to deprive him of
his Fourth Amendment Rights to Protection from Abuse of Process, as
applied to the States by the Fourteenth Amendment, as described
within this complaint and are therefore liable to the Plaintiff for
damages under 42 U.S.C. § 1985 as well as punitive damages to deter
such Conspiracy to Deprive Protection from Abuse of Process from
occurring to the Plaintiff or to any other citizen again.

Count 8

42 U.S.C. § 1983 — Deprivation of United States Constitutional Rights,
4th Amendment Right to Protection from Abuse of Process.

Glen Plourde v. The State of Maine et al.
. Paragraphs (15) — (118) are incorporated by reference as if pled herein.

. Plaintiff sues Penobscot County Superior Court Justice William
Anderson in both the individual and official capacity(s).

. Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

-30-
Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 310f57 PagelD#: 31

164. Plaintiff sues Penobscot County District Attorney Marianne Lynch in

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166.

both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

Plaintiff asserts that all Defendants have deprived him of his Fourth
Amendment Rights to Protection from Abuse of Process, as applied to
the States by the Fourteenth Amendment, as described within this
complaint and are therefore liable to the Plaintiff for damages under 42
U.S.C. § 1983 as well as punitive damages to deter such Deprivation of
Protection from Abuse of Process from occurring to the Plaintiff or to
any other citizen again.

Count 9

42 U.S.C. § 1985 — Conspiracy to Deprive United States Constitutional
Rights, 4 Amendment Right to Face Accuser.

Glen Plourde v. The State of Maine et al.

167. Paragraphs (15) — (118) are incorporated by reference as if pled herein.

168.

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Plaintiff sues Penobscot County Superior Court Justice William
Anderson in both the individual and official capacity(s).

Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

Plaintiff asserts that all Defendants have conspired to deprive and/or
interfere with his his Fourth Amendment Right to Face his Accuser, as
applied to the States by the Fourteenth Amendment, as described
within this complaint and are therefore liable to the Plaintiff for
damages under 42 U.S.C. § 1985 as well as punitive damages to deter
such Conspiracy to Deprive and/or interfere with the Right to Face an
Accuser from occurring to the Plaintiff or to any other citizen again.

Count 10

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Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 32 0f57 PagelD #: 32

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42 U.S.C. § 1983 — Deprivation of United States Constitutional Rights,

Ath Amendment Right to Face Accuser.
Glen Plourde v. The State of Maine et al.
Paragraphs (15) — (118) are incorporated by reference as if pled herein.

Plaintiff sues Penobscot County Superior Court Justice Wiliam
Anderson in both the individual and official capacity(s).

Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

Plaintiff asserts that all Defendants have deprived and/or interfered
with his Fourth Amendment Rights to Face his Accuser, as applied to
the States by the Fourteenth Amendment, as described within this
complaint and are therefore liable to the Plaintiff for damages under 42
U.S.C. § 1983 as well as punitive damages to deter such Deprivation
and/or Interference of Rights to Face and Accuser from occurring to the
Plaintiff or to any other citizen again.

Count 11

17-A M.R.S. § 151 — Conspiracy to Intentionally Deprive Constitutional
Rights secured by The United States Constitution, 5s Amendment Right to

179.

180.

181.

Substantive Due Process.
Glen Plourde v. The State of Maine et al.
Paragraphs (15) — (118) are incorporated by reference as if pled herein.

Plaintiff sues Penobscot County Superior Court Justice Wiliam
Anderson in both the individual and official capacity(s).

Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

99)
Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 33 0f57 PagelD#: 33

182.

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184.

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

Plaintiff asserts that all Defendants have conspired to intentionally
deprive him of his Constitutional Rights secured by The United States
Constitution, specifically his Fifth Amendment Right to Substantive
Due Process, as applied to the States by the Fourteenth Amendment, as
described within this complaint, and as such are liable to the Plaintiff
for damages under 17-A M.R.S. § 151, 5 M.R.S. § 4682 and Article 1
Section 19 of The Maine State Constitution as well as punitive damages
to deter such conspiracy to intentional deprive the Fifth Amendment
Right to Substantive Due Process from occurring to the Plaintiff or to
any other citizen again.

Count 12

5 M.R.S. § 4682 — Intentional Deprivation of United States Constitutional

185.

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190.

Rights, 5ts Amendment Right to Substantive Due Process.
Glen Plourde v. The State of Maine et al.
Paragraphs (15) — (118) are incorporated by reference as if pled herein.

Plaintiff sues Penobscot County Superior Court Justice William
Anderson in both the individual and official capacity(s).

Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

Plaintiff asserts that all Defendants have intentionally deprived him of
his Fifth Amendment Constitutional Rights to Substantive Due Process,
as applied to the States by the Fourteenth Amendment, as described
within this complaint and as such are liable to the Plaintiff for damages
under 5 M.R.S § 4682 and Article 1 Section 19 of The Maine State
Constitution as well as punitive damages to deter such intentional

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Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 34o0f57 PagelD#: 34

deprivation of Substantive Due Process from occurring to the Plaintiff or
to any other citizen again.

Count 13

17-A M.R.S. § 151 — Conspiracy to Intentionally Deprive Constitutional
Rights secured by The United States Constitution, 5t Amendment Right to

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196.

Procedural Due Process.
Glen Plourde v. The State of Maine et al.
Paragraphs (15) — (118) are incorporated by reference as if pled herein.

Plaintiff sues Penobscot County Superior Court Justice William
Anderson in both the individual and official capacity(s).

Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

Plaintiff asserts that all Defendants have conspired to intentionally
deprive him of his Constitutional Rights secured by The United States
Constitution, specifically his Fifth Amendment Right to Procedural Due
Process, as applied to the States by the Fourteenth Amendment, as
described within this complaint, and as such are liable to the Plaintiff
for damages under 17-A M.R.S. § 151, 5 M.R.S. § 4682 and Article 1
Section 19 of The Maine State Constitution as well as punitive damages
to deter such conspiracy to intentional deprivation of the Fifth
Amendment Right to Procedural Due Process from occurring to the
Plaintiff or to any other citizen again.

Count 14

5 M.R.S. § 4682 — Intentional Deprivation of United States Constitutional

197.

Rights, 54+ Amendment Right to Procedural Due Process.
Glen Plourde v. The State of Maine et al.

Paragraphs (15) — (118) are incorporated by reference as if pled herein.

-34-
Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 35o0f57 PagelD#: 35

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Plaintiff sues Penobscot County Superior Court Justice William
Anderson in both the individual and official capacity(s).

Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

Plaintiff asserts that all Defendants have intentionally deprived him of
his Fifth Amendment Constitutional Rights to Procedural Due Process,
as applied to the States by the Fourteenth Amendment, as described
within this complaint and as such are liable to the Plaintiff for damages
under 5 M.R.S § 4682 and Article 1 Section 19 of The Maine State
Constitution as well as punitive damages to deter such intentional
deprivation of Procedural Due Process from occurring to the Plaintiff or
to any other citizen again.

Count 15

17-A M.R.S. § 151 — Conspiracy to Intentionally Deprive Constitutional
Rights secured by The United States Constitution, 4» Amendment Right to

203.

204.

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207.

Protection from Malicious Prosecution.
Glen Plourde v. The State of Maine et al.
Paragraphs (15) — (118) are incorporated by reference as if pled herein.

Plaintiff sues Penobscot County Superior Court Justice William
Anderson in both the individual and official capacity(s).

Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

-35-
Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 36 0f57 PagelD #: 36

208.

Plaintiff asserts that all Defendants have conspired to intentionally
deprive him of his Constitutional Rights secured by The United States
Constitution, specifically his Fourth Amendment Right to Protection
from Malicious Prosecution, as applied to the States by the Fourteenth
Amendment, as described within this complaint, and as such are liable
to the Plaintiff for damages under 17-A M.R.S. § 151, 5 M.R.S. § 4682
and Article 1 Section 19 of The Maine State Constitution as well as
punitive damages to deter such conspiracy to intentional deprivation of
the Fourth Amendment Right to Procedural Due Process from occurring
to the Plaintiff or to any other citizen again.

Count 16

5 M.R.S. § 4682 — Intentional Deprivation of United States Constitutional
Rights, 4» Amendment Right to Protection from Malicious Prosecution.

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Glen Plourde v. The State of Maine et al.
Paragraphs (15) — (118) are incorporated by reference as if pled herein.

Plaintiff sues Penobscot County Superior Court Justice William
Anderson in both the individual and official capacity(s).

Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

Plaintiff asserts that all Defendants have intentionally deprived him of
his Fourth Amendment Constitutional Rights to Protection from
Malicious Prosecution, as applied to the States by the Fourteenth
Amendment, as described within this complaint and as such are liable
to the Plaintiff for damages under 5 M.R.S § 4682 and Article 1 Section
19 of The Maine State Constitution as well as punitive damages to deter
such intentional deprivation of Procedural Due Process from occurring
to the Plaintiff or to any other citizen again.

Count 17

-36-
Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 37 of 57 PagelD #: 37

17-A M.R.S. § 151 — Conspiracy to Intentionally Deprive Constitutional
Rights secured by The United States Constitution, 4t* Amendment Right to

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220.

Protection from Abuse of Process.
Glen Plourde v. The State of Maine et al.
Paragraphs (15) — (118) are incorporated by reference as if pled herein.

Plaintiff sues Penobscot County Superior Court Justice William
Anderson in both the individual and official capacity(s).

Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

Plaintiff asserts that all Defendants have conspired to intentionally
deprive him of his Constitutional Rights secured by The United States
Constitution, specifically his Fourth Amendment Right to Protection
from Abuse of Process, as applied to the States by the Fourteenth
Amendment, as described within this complaint, and as such are liable
to the Plaintiff for damages under 17-A M.R.S. § 151, 5 M.R.S. § 4682
and Article 1 Section 19 of The Maine State Constitution as well as
punitive damages to deter such conspiracy to intentional deprivation of
the Fourth Amendment Right to Protection from Abuse of Process from
occurring to the Plaintiff or to any other citizen again.

Count 18

5 M.R.S. § 4682 — Intentional Deprivation of United States Constitutional

221.

222.

Rights, 4 Amendment Right to Protection from Abuse of Process.
Glen Plourde v. The State of Maine et al.
Paragraphs (15) — (118) are incorporated by reference as if pled herein.

Plaintiff sues Penobscot County Superior Court Justice William
Anderson in both the individual and official capacity(s).

-37-
Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 38 0f57 PagelD #: 38

223.

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Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

Plaintiff asserts that all Defendants have intentionally deprived him of
his Fourth Amendment Constitutional Rights to Protection from Abuse
of Process, as applied to the States by the Fourteenth Amendment, as
described within this complaint and as such are liable to the Plaintiff for
damages under 5 M.R.S § 4682 and Article 1 Section 19 of The Maine
State Constitution as well as punitive damages to deter such intentional
deprivation of Protection from Abuse of Process from occurring to the
Plaintiff or to any other citizen again.

Count 19

17-A M.R.S. § 151 — Conspiracy to Intentionally Deprive Constitutional
Rights secured by The United States Constitution, 4 Amendment Right to

227,

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232.

Face Accuser.
Glen Plourde v. The State of Maine et al.
Paragraphs (15) — (118) are incorporated by reference as if pled herein.

Plaintiff sues Penobscot County Superior Court Justice William
Anderson in both the individual and official capacity(s).

Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

Plaintiff asserts that all Defendants have conspired to intentionally
deprive and/or interfere with his Constitutional Rights secured by The
United States Constitution, specifically his Fourth Amendment Right to
Face his Accuser, as applied to the States by the Fourteenth

- 38 -
Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 39 0f57 PagelD #: 39

Amendment, as described within this complaint, and as such are liable
to the Plaintiff for damages under 17-A M.R.S. § 151, 5 M.R.S. § 4682
and Article 1 Section 19 of The Maine State Constitution as well as
punitive damages to deter such conspiracy to intentionally deprive
and/or interfere with the Fourth Amendment Right to Face an Accuser
from occurring to the Plaintiff or to any other citizen again.

Count 20

5 M.R.S. § 4682 — Intentional Deprivation of United States Constitutional

233.

234,

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238.

Rights, 44» Amendment Right to Face Accuser.
Glen Plourde v. The State of Maine et al.
Paragraphs (15) — (118) are incorporated by reference as if pled herein.

Plaintiff sues Penobscot County Superior Court Justice William
Anderson in both the individual and official capacity(s).

Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

Plaintiff asserts that all Defendants have intentionally deprived and/or
interfered with his Fourth Amendment Constitutional Rights to Face
his Accuser, as applied to the States by the Fourteenth Amendment, as
described within this complaint and as such are liable to the Plaintiff for
damages under 5 M.R.S § 4682 and Article 1 Section 19 of The Maine
State Constitution as well as punitive damages to deter such intentional
deprivation and/or interference with the Right to Face an Accuser from
occurring to the Plaintiff or to any other citizen again.

Count 21

17-A M.R.S. § 151 — Conspiracy to Intentionally Deprive Constitutional
Rights secured by The Maine State Constitution, Article 1 Section 6-A Right

to Substantive Due Process.

Glen Plourde v. The State of Maine et al.

-39-
Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 40 0f57 PagelD#: 40

239.

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Paragraphs (15) — (118) are incorporated by reference as if pled herein.

Plaintiff sues Penobscot County Superior Court Justice Wiliam
Anderson in both the individual and official capacity(s).

Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

Plaintiff asserts that all Defendants have conspired to intentionally
deprive him of his Article 1 Section 6-A Maine State Constitutional
Rights to Substantive Due Process, as described within this complaint
and as such are liable to the Plaintiff for damages under 17-A M.R.S. §
151, 5 M.R.S § 4682 and Article 1 Section 19 of The Maine State
Constitution as well as punitive damages to deter such conspiracy to
intentionally deprive the Right to Substantive Due Process from
occurring to the Plaintiff or to any other citizen again.

Count 22

5 M.R.S. § 4682 — Intentional Deprivation of Maine State Constitutional

245.

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249.

Rights, Article 1 Section 6-A Right to Substantive Due Process.
Glen Plourde v. The State of Maine et al.
Paragraphs (15) — (118) are incorporated by reference as if pled herein.

Plaintiff sues Penobscot County Superior Court Justice William
Anderson in both the individual and official capacity(s).

Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

- 40 -
Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 41o0f57 PagelD#: 41

250. Plaintiff asserts that all Defendants have intentionally deprived him of

his Article 1 Section 6-A Maine State Constitutional Rights to
Substantive Due Process, as described within this complaint and as
such are liable to the Plaintiff for damages under 5 M.R.S § 4682 and
Article 1 Section 19 of The Maine State Constitution as well as punitive
damages to deter such intentional deprivation of the Right to
Substantive Due Process from occurring to the Plaintiff or to any other
citizen again.

Count 23

17-A M.R.S. § 151 — Conspiracy to Intentionally Deprive Constitutional
Rights secured by The Maine State Constitution, Article 1 Section 6-A Right

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to Procedural Due Process.
Glen Plourde v. The State of Maine et al.
Paragraphs (15) — (118) are incorporated by reference as if pled herein.

Plaintiff sues Penobscot County Superior Court Justice William
Anderson in both the individual and official capacity(s).

Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

Plaintiff asserts that all Defendants have conspired to intentionally
deprive him of his Article 1 Section 6-A Maine State Constitutional
Rights to Procedural Due Process, as described within this complaint
and as such are liable to the Plaintiff for damages under 17-A M.R.S. §
151, 5 M.R.S § 4682 and Article 1 Section 19 of The Maine State
Constitution as well as punitive damages to deter such conspiracy to
intentionally deprive the Right to Procedural Due Process from
occurring to the Plaintiff or to any other citizen again.

Count 24

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Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 42 0f57 PagelD#: 42

5 M.R.S. § 4682 — Intentional Deprivation of Maine State Constitutional

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Rights, Article 1 Section 6-A Right to Procedural Due Process.
Glen Plourde v. The State of Maine et al.
Paragraphs (15) — (118) are incorporated by reference as if pled herein.

Plaintiff sues Penobscot County Superior Court Justice William
Anderson in both the individual and official capacity(s).

Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

Plaintiff asserts that all Defendants have intentionally deprived him of
his Article 1 Section 6-A Maine State Constitutional Rights to
Procedural Due Process, as described within this complaint and as such
are liable to the Plaintiff for damages under 5 M.R.S § 4682 and Article
1 Section 19 of The Maine State Constitution as well as punitive
damages to deter such intentional deprivation of the Right to Procedural
Due Process from occurring to the Plaintiff or to any other citizen again.

Count 25

17-A M.R.S. § 151 — Conspiracy to Intentionally Deprive Constitutional Rights
secured by The Maine State Constitution, Article 1 Section 6 Right to Protection

263.

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from Malicious Prosecution.
Glen Plourde v. The State of Maine et al.
Paragraphs (15) — (118) are incorporated by reference as if pled herein.

Plaintiff sues Penobscot County Superior Court Justice William

Anderson in both the individual and official capacity(s).

Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

- A? -
Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 43 0f57 PagelD#: 43

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Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

Plaintiff asserts that all Defendants have conspired to intentionally
deprive him of his Article 1 Section 6 Maine State Constitutional Rights
to Protection from Malicious Prosecution, as described within this
complaint and as such are liable to the Plaintiff for damages under 17-A
M.R.S. § 151, 5 M.R.S § 4682 and Article 1 Section 19 of The Maine
State Constitution as well as punitive damages to deter such conspiracy
to intentionally deprive the Right to Protection from Malicious
Prosecution from occurring to the Plaintiff or to any other citizen again.

Count 26

5 M.R.S. § 4682 — Intentional Deprivation of Maine State Constitutional
Rights, Article 1 Section 6 Right to Protection from Malicious Prosecution.

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Glen Plourde v. The State of Maine et al.
Paragraphs (15) — (118) are incorporated by reference as if pled herein.

Plaintiff sues Penobscot County Superior Court Justice William
Anderson in both the individual and official capacity(s).

Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

Plaintiff asserts that all Defendants have intentionally deprived him of
his Article 1 Section 6 Maine State Constitutional Rights to Protection
from Malicious Prosecution, as described within this complaint and as
such are liable to the Plaintiff for damages under 5 M.R.S § 4682 and
Article 1 Section 19 of The Maine State Constitution as well as punitive
damages to deter such intentional deprivation of the Right to Protection
from Malicious Prosecution from occurring to the Plaintiff or to any
other citizen again.

-43-
Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 440f57 PagelD#: 44

Count 27

17-A M.R.S. § 151 — Conspiracy to Intentionally Deprive Constitutional Rights
secured by The Maine State Constitution, Article 1 Section 6 Right to Protection

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from Abuse of Process.
Glen Plourde v. The State of Maine et al.
Paragraphs (15) — (118) are incorporated by reference as if pled herein.

Plaintiff sues Penobscot County Superior Court Justice William
Anderson in both the individual and official capacity(s).

Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

Plaintiff asserts that all Defendants have conspired to intentionally
deprive him of his Article 1 Section 6 Maine State Constitutional Rights
to Protection from Abuse of Process, as described within this complaint
and as such are liable to the Plaintiff for damages under 17-A M.R.S. §
151, 5 M.R.S § 4682 and Article 1 Section 19 of The Maine State
Constitution as well as punitive damages to deter such conspiracy to
intentionally deprive the Right to Protection from Abuse of Process from
occurring to the Plaintiff or to any other citizen again.

Count 28

5 M.R.S. § 4682 — Intentional Deprivation of Maine State Constitutional

281.

282.

Rights, Article 1 Section 6 Right to Protection from Abuse of Process.
Glen Plourde v. The State of Maine et al.
Paragraphs (15) — (118) are incorporated by reference as if pled herein.

Plaintiff sues Penobscot County Superior Court Justice William
Anderson in both the individual and official capacity(s).

-44-
Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 45o0f57 PagelD#: 45

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Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

Plaintiff asserts that all Defendants have intentionally deprived him of
his Article 1 Section 6 Maine State Constitutional Rights to Protection
from Abuse of Process, as described within this complaint and as such
are liable to the Plaintiff for damages under 5 M.R.S § 4682 and Article
1 Section 19 of The Maine State Constitution as well as punitive
damages to deter such intentional deprivation of the Right to Protection
from Abuse of Process from occurring to the Plaintiff or to any other
citizen again.

Count 29

17-A M.R.S. § 151 — Conspiracy to Intentionally Deprive Constitutional Rights
secured by The Maine State Constitution, Article 1 Section 6 Right to Face an

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Accuser.
Glen Plourde v. The State of Maine et al.
Paragraphs (15) — (118) are incorporated by reference as if pled herein.

Plaintiff sues Penobscot County Superior Court Justice William
Anderson in both the individual and official capacity(s).

Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

Plaintiff asserts that all Defendants have conspired to intentionally
deprive and/or interfere with his Article 1 Section 6 Maine State
Constitutional Rights to Face an Accuser, as described within this
complaint and as such are liable to the Plaintiff for damages under 17-A

-45-
Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 46 of 57 PagelD #: 46

M.R.S. § 151, 5 M.R.S § 4682 and Article 1 Section 19 of The Maine
State Constitution as well as punitive damages to deter such conspiracy
to intentionally deprive and/or interfere with the Right to Face an
Accuser from occurring to the Plaintiff or to any other citizen again.

Count 30

5 M.R.S. § 4682 — Intentional Deprivation of Maine State Constitutional

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Rights, Article 1 Section 6 Right to Face an Accuser.

Glen Plourde v. The State of Maine et al.
Paragraphs (15) — (118) are incorporated by reference as if pled herein.

Plaintiff sues Penobscot County Superior Court Justice Wiliam
Anderson in both the individual and official capacity(s).

Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

Plaintiff asserts that all Defendants have intentionally deprived and/or
interfered with his Article 1 Section 6 Maine State Constitutional
Rights to Face an Accuser, as described within this complaint and as
such are liable to the Plaintiff for damages under 5 M.R.S § 4682 and
Article 1 Section 19 of The Maine State Constitution as well as punitive
damages to deter such intentional deprivation and/or interference with
the Right to Face an Accuser from occurring to the Plaintiff or to any
other citizen again.

Count 31
17-A M.R.S. § 151 — Conspiracy to Commit Malicious Prosecution.
Glen Plourde v. The State of Maine et al.

Paragraphs (15) — (118) are incorporated by reference as if pled herein.

- 46 -
Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 47 of 57 PagelD #: 47

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Plaintiff sues Penobscot County Superior Court Justice William
Anderson in both the individual and official capacity(s).

Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

Plaintiff asserts that all Defendants have engaged in a conspiracy to
commit Malicious Prosecution, as described within this complaint and
as such are liable to the Plaintiff for damages under 17-A M.R.S. § 151
and all applicable Malicious Prosecution Damage Statutes as well as
punitive damages to deter such conspiracy to commit Malicious
Prosecution from occurring to the Plaintiff or to any other citizen again.

Count 32
Statute(s) Unknown — Malicious Prosecution.
Glen Plourde v. The State of Maine et al.
Paragraphs (15) — (118) are incorporated by reference as if pled herein.

Plaintiff sues Penobscot County Superior Court Justice William
Anderson in both the individual and official capacity(s).

Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

The Plaintiff is Pro Se and has been unable to find the Statutes
concerning Malicious Prosecution, and both the State Law Library in
Augusta and the Cleaves Law Library in Portland are closed due to
COVID-19 lockdown. The indigent Pro Se Plaintiff will consult with an

-47-
Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 48 of 57 PagelD#: 48

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attorney if there is objection to this count being included before a Judge
may clarify it or any of the State Law Libraries may open again.

Plaintiff asserts that all Defendants have engaged in Malicious
Prosecution, as described within this complaint and as such are liable to
the Plaintiff for damages under all applicable Malicious Prosecution
Damage Statutes as well as punitive damages to deter such Malicious
Prosecution from occurring to the Plaintiff or to any other citizen again.
Count 33
17-A M.R.S. § 151 — Conspiracy to Commit Abuse of Process.
Glen Plourde v. The State of Maine et al.
Paragraphs (15) — (118) are incorporated by reference as if pled herein.

Plaintiff sues Penobscot County Superior Court Justice Wiliam
Anderson in both the individual and official capacity(s).

Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

Plaintiff asserts that all Defendants have engaged in a conspiracy to
commit Abuse of Process, as described within this complaint and as such
are liable to the Plaintiff for damages under 17-A M.R.S. § 151 and all
applicable Abuse of Process Damage Statutes as well as punitive
damages to deter such conspiracy to commit Abuse of Process from
occurring to the Plaintiff or to any other citizen again.
Count 34
Statute(s) Unknown — Abuse of Process.
Glen Plourde v. The State of Maine et al.

Paragraphs (15) — (118) are incorporated by reference as if pled herein.

- 48 -
Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 49 o0f57 PagelD #: 49

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Plaintiff sues Penobscot County Superior Court Justice Wiliam
Anderson in both the individual and official capacity(s).

Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

The Plaintiff is Pro Se and has been unable to find the Statutes
concerning Abuse of Process, and both the State Law Library in
Augusta and the Cleaves Law Library in Portland are closed due to
COVID-19 lockdown. The indigent Pro Se Plaintiff will consult with an
attorney if there is objection to this count being included before a Judge
may clarify it or any of the State Law Libraries may open again.

Plaintiff asserts that all Defendants have engaged in Abuse of Process,
as described within this complaint and as such are liable to the Plaintiff
for damages under all applicable Abuse of Process Damage Statutes as
well as punitive damages to deter such Abuse of Process from occurring
to the Plaintiff or to any other citizen again.
Count 35
17-A M.R.S. § 151 — Conspiracy to Commit Attorney Malpractice.
Glen Plourde v. The State of Maine et al.
Paragraphs (15) — (118) are incorporated by reference as if pled herein.

Plaintiff sues Penobscot County Superior Court Justice William
Anderson in both the individual and official capacity(s).

Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

- AQ -
Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 500f57 PagelD #: 50

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Plaintiff asserts that all Defendants have engaged in a conspiracy to
commit Attorney Malpractice, as described within this complaint and as
such are liable to the Plaintiff for damages under 17-A M.R.S. § 151 and
all applicable Attorney Malpractice Damage Statutes as well as punitive
damages to deter such conspiracy to commit Abuse of Process from
occurring to the Plaintiff or to any other citizen again.

Count 36
Statute(s) Unknown — Attorney Malpractice.
Glen Plourde v. The State of Maine et al.
Paragraphs (15) — (118) are incorporated by reference as if pled herein.

Plaintiff sues Penobscot County Superior Court Justice William
Anderson in both the individual and official capacity(s).

Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

The Plaintiff is Pro Se and has been unable to find the Statutes
concerning Attorney Malpractice, and both the State Law Library in
Augusta and the Cleaves Law Library in Portland are closed due to
COVID-19 lockdown. The indigent Pro Se Plaintiff will consult with an
attorney if there is objection to this count being included before a Judge
may clarify it or any of the State Law Libraries may open again.

Plaintiff asserts that all Defendants have engaged in Attorney
Malpractice, as described within this complaint and as such are liable to
the Plaintiff for damages under all applicable Attorney Malpractice

Damage Statutes as well as punitive damages to deter such Abuse of
Process from occurring to the Plaintiff or to any other citizen again.

Count 37

17-A M.R.S. § 151 — Conspiracy to Commit Defamation of Character.

-50-
Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 51of57 PagelD#: 51

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Glen Plourde v. The State of Maine et al.
Paragraphs (15) — (118) are incorporated by reference as if pled herein.

Plaintiff sues Penobscot County Superior Court Justice William
Anderson in both the individual and official capacity(s).

Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

Plaintiff asserts that all Defendants have engaged in a conspiracy to
commit Defamation of the Plaintiffs Character, as described within this
complaint and as such are liable to the Plaintiff for damages under 17-A
M.R.S. § 151 and all applicable Defamation of Character Damage
Statutes as well as punitive damages to deter such conspiracy to commit
Defamation of Character from occurring to the Plaintiff or to any other
citizen again.

Count 38
Statute(s) Unknown — Defamation of Character.
Glen Plourde v. The State of Maine et al.
Paragraphs (15) — (118) are incorporated by reference as if pled herein.

Plaintiff sues Penobscot County Superior Court Justice William
Anderson in both the individual and official capacity(s).

Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

-51-
Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 52 o0f57 PagelD#: 52

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The Plaintiff is Pro Se and has been unable to find the Statutes
concerning Defamation of Character, and both the State Law Library in
Augusta and the Cleaves Law Library in Portland are closed due to
COVID-19 lockdown. The indigent Pro Se Plaintiff will consult with an
attorney if there is objection to this count being included before a Judge
may clarify it or any of the State Law Libraries may open again.

Plaintiff asserts that all Defendants have engaged in Defamation of
Character, as described within this complaint and as such are liable to
the Plaintiff for damages under all applicable Defamation of Character
Damage Statutes as well as punitive damages to deter such Defamation
of Character from occurring to the Plaintiff or to any other citizen again.

Count 39

17-A M.R.S. § 151 — Conspiracy to Commit Perjury (17-A M.R.S § 451).

Glen Plourde v. The State of Maine et al.
Paragraphs (15) — (118) are incorporated by reference as if pled herein.

Plaintiff sues Penobscot County Superior Court Justice William
Anderson in both the individual and official capacity(s).

Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

Plaintiff asserts that all Defendants have engaged in a conspiracy to
commit Perjury, as described within this complaint and as such are
liable to the Plaintiff for damages under 17-A M.R.S. § 151 and 17-A
M.R.S § 451 as well as punitive damages to deter such conspiracy to
commit Perjury from occurring to the Plaintiff or to any other citizen
again.

Count 40

17-A M.R.S § 451 — Perjury.

-52-
Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 53 o0f57 PagelD#: 53

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Glen Plourde v. The State of Maine et al.
Paragraphs (15) — (118) are incorporated by reference as if pled herein.

Plaintiff sues Penobscot County Superior Court Justice William
Anderson in both the individual and official capacity(s).

Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

Plaintiff asserts that all Defendants have engaged in Perjury, as
described within this complaint and as such are liable to the Plaintiff for
damages under 17-A M.R.S § 451 as well as punitive damages to deter
such Perjury from occurring to the Plaintiff or to any other citizen again.

Count 41

17-A M.R.S. § 151 — Conspiracy to Commit Tampering with Public Records or

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Information (17-A M.R.S § 456).
Glen Plourde v. The State of Maine et al.
Paragraphs (15) — (118) are incorporated by reference as if pled herein.

Plaintiff sues Penobscot County Superior Court Justice William
Anderson in both the individual and official capacity(s).

Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

-53-
Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 54o0f57 PagelD#: 54

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Plaintiff asserts that all Defendants have engaged in a conspiracy to
tamper with public records or information, as described within this
complaint and as such are liable to the Plaintiff for damages under 17-A
M.R.S. § 151 and 17-A M.R.S § 456 as well as punitive damages to deter
such conspiracy to tamper with public records or information from
occurring to the Plaintiff or to any other citizen again.

Count 42
17-A M.R.S § 456 — Tampering with Public Records or Information.
Glen Plourde v. The State of Maine et al.
Paragraphs (15) — (118) are incorporated by reference as if pled herein.

Plaintiff sues Penobscot County Superior Court Justice William
Anderson in both the individual and official capacity(s).

Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

Plaintiff asserts that all Defendants have engaged in Tampering with
Public Records or Information, as described within this complaint and
as such are liable to the Plaintiff for damages under 17-A M.R.S § 456
as well as punitive damages to deter such Tampering with Public
Records or Information from occurring to the Plaintiff or to any other
citizen again.

Count 43

17-A M.R.S. § 455 — Conspiracy to Commit Falsification of Physical Evidence

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(17-A M.R.S § 455).
Glen Plourde v. The State of Maine et al.

Paragraphs (15) — (118) are incorporated by reference as if pled herein.

-54-
Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 55o0f57 PagelD#: 55

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Plaintiff sues Penobscot County Superior Court Justice William
Anderson in both the individual and official capacity(s).

Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

Plaintiff asserts that all Defendants have engaged in a conspiracy to
falsify physical evidence, as described within this complaint and as such
are liable to the Plaintiff for damages under 17-A M.R.S. § 151 and 17-A
M.R.S § 455 as well as punitive damages to deter such conspiracy to
falsify physical evidence from occurring to the Plaintiff or to any other
citizen again.

Count 44
17-A M.R.S § 455 — Falsifying Physical Evidence.
Glen Plourde v. The State of Maine et al.
Paragraphs (15) — (118) are incorporated by reference as if pled herein.

Plaintiff sues Penobscot County Superior Court Justice William
Anderson in both the individual and official capacity(s).

Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

Plaintiff asserts that all Defendants have engaged in falsifying physical
evidence, as described within this complaint and as such are liable to
the Plaintiff for damages under 17-A M.R.S § 456 as well as punitive
damages to deter such falsifying of physical evidence from occurring to
the Plaintiff or to any other citizen again.

-55-
Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 56 o0f57 PagelD #: 56

Count 45

Violation of Article 12 of the Geneva Convention against Torture and Other
Cruel, Inhuman or Degrading Treatment or Punishment, Adopted by the
United Nations General Assembly on December 10 1984 — Failure to
Conduct a Prompt and Impartial Investigation of Allegation(s) of Torture.

Glen Plourde v. The State of Maine et al.
387. Paragraphs (15) — (118) are incorporated by reference as if pled herein.

388. Plaintiff sues Penobscot County Superior Court Justice William
Anderson in both the individual and official capacity(s).

389. Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

390. Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

391. Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

392. Plaintiff asserts that all Defendants have Violated Article 12 of the
United Nations Geneva Convention Against Torture by failing to
Conduct a Prompt and Impartial Investigation of the Plaintiffs
Allegation(s) of Torture and are therefore Liable to the Plaintiff under
International Law, specifically the United Nations to which the United
States is a signed and principal party.

Count 46

Violation of Article 13 of the Geneva Convention against Torture and Other
Cruel, Inhuman or Degrading Treatment or Punishment, Adopted by the
United Nations General Assembly on December 10 1984 — Failure to
Promptly and Impartially Investigate the Plaintiffs Complaint(s) of Torture
and Failure to Protect the Plaintiff against any and all Ill-Treatment and
Intimidation as a Consequence of his Complaint(s) and Evidence Given.

Glen Plourde v. The State of Maine et al.

393. Paragraphs (15) — (118) are incorporated by reference as if pled herein.

-56-
Case 1:20-cv-00149-LEW Document1 Filed 04/27/20 Page 57 of 57 . PagelD #: 57

394. Plaintiff sues Penobscot County Superior Court Justice William
Anderson in both the individual and official capacity(s).

395. Plaintiff sues Newport District Court Judge Charles Budd in both the
individual and official capacity(s).

396. Plaintiff sues Penobscot County District Attorney Marianne Lynch in
both the individual and official capacity(s).

397. Plaintiff sues Penobscot County Assistant District Attorney Stephen
Burlock in both the individual and official capacity(s).

398. Plaintiff asserts that all Defendants have Violated Article 13 of the
United Nations Geneva Convention Against Torture by failing to
Promptly and Impartially Investigate the Plaintiffs Allegation(s) of
Torture as well as Failure to Protect the Plaintiff against any and all [ll-
Treatment and Intimidation as a Consequence of his Complaint(s) and
Evidence Given and are therefore Liable to the Plaintiff under
International Law, specifically the United Nations to which the United
States is a signed and principal party.

V. Certification and Closing

By signing below, I certify to the best of my knowledge, information, and
belief that this complaint: (1) is not being presented for an improper
purpose, such as to harass, cause unnecessary delay, or needlessly
increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law;
(3) the factual contentions have evidentiary support or, if specifically so
identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint
otherwise complies with the requirements of Rule 11.

I agree to provide the Clerk’s Office with any changes to my address

where case related papers may be served. I understand that my failure to
keep a current address on file with the Clerk’s Office may result in the

dismissal of oe. case.
Date of signing: Osfaf ZY¥_,20Z0 MEE
Signature of Plaintiff

Printed Name of Plaintiff Z Clon Fr / oUF pe

 

-57-
